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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             )
T.L., a minor, by T.L.’s parent,             )       Civil Action No.
        G.L.,                                )
                                             )
               Plaintiffs,                   )
                                             )       ELECTRONICALLY FILED
       v.                                    )
                                             )
SOUTH ALLEGHENY SCHOOL                       )       JURY TRIAL DEMANDED
DISTRICT,                                    )
                                             )
               Defendant.                    )

                                         COMPLAINT

       Plaintiffs T.L. and G.L., by their attorneys, file this Complaint against Defendant South

Allegheny School District and state the following:

                                    Jurisdiction and Venue

1. This action arises under Title II of the Americans with Disabilities Act, 42 U.S.C. § 12132 et

   seq., and Section 504 of the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 794.

2. This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. § 1331.

3. Venue in this District is proper under 28 U.S.C. § 1391(a).

                                             Parties

4. Plaintiffs T.L. and G.L. resides within the South Allegheny School District at 2034

   Washington Blvd., Glassport, PA 15045.

5. South Allegheny School District is a Pennsylvania School District in Allegheny County.

   Defendant’s address for the purposes of service is 2743 Washington Blvd., McKeesport, PA

   15133.




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                                          Factual Background

6. T.L. was enrolled as a student at the District prior to the events described in this complaint.

7. T.L. was diagnosed with autism and attention deficit hyperactivity disorder as an elementary

   student and has carried these diagnoses throughout all time relevant to this Complaint.

8. The District recognizes that T.L. qualifies for special education services under the disability

   categories of autism and specific learning disability in the areas of reading fluency and

   written expression.

9. T.L. has exhibited behavioral problems associated with autism throughout T.L.’s time at the

   District.

10. At times relevant to this complaint, the District has recognized that T.L.’s behavioral issues

   interfere with his ability to learn.

11. The District recognizes that it is required to address T.L.’s behavior as part of his

   individualized educational plan (IEP).

12. Because T.L. is austistic, T.L. suffers impairments relating to social interactions, restricted

   patterns of behavior, and impediments in pragmatic skills. T.L. often appears to be

   disrespectful to authority figures and does not interact appropriately with others.

13. On October 18, 2013, T.L.’s mathematics teacher reported Lisa Duval, South Allegheny

   Middle School Principal, an incident in which she claimed that T.L. argued with her and

   kicked her feet.

14. In response to this report, T.L. was indefinitely removed from the school building. T.L.’s

   parents were informed that T.L. could return to the school after T.L. received a mental health

   evaluation.

15. On October 23, 2013, the District held a manifestation determination to determine whether



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   T.L’s actions described in the mathematics teacher’s report were a behavioral manifestation

   of T.L.’s disability.

16. The District’s interdisciplinary IEP team participated in the manifestation determination and

   determined that T.L.’s conduct was a manifestation of T.L.’s disability.

17. The District recorded that T.L.’s alleged conduct was not the direct result of its failure to

   implement T.L.’s IEP.

18. Because it was determined that T.L.’s behaviors were a manifestation of T.L.’s disability, the

   District recognized that it was required to conduct a functional behavioral assessment and

   implement or modify a behavioral intervention plan. Additionally, the District recognized

   that T.L. would be returned to T.L.’s previous placement.

19. Despite making this determination, the District suspended T.L. for 10 days and excluded T.L.

   from school indefinitely, pending T.L. receiving of a mental health evaluation.

20. In addition to suspending T.L., certain District employees pursued criminal charges against

   T.L.

21. Upon information and belief, the District encouraged these employees to pursue criminal

   charges against T.L.

22. T.L. was charged with one felony, aggravated assault, and one misdemeanor, terroristic

   threats.

23. The charging police officer prepared a narrative that clearly states the alleged kicking

   incident was the result of academic frustration, which culminated with T.L. “kicking the back

   of [T.L.’s teacher’s] feet.” The narrative also states that the charges were filed at the

   District’s request.

24. By November 2013, T.L. had not returned to school, and T.L.’s parents were concerned



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   about T.L.’s significant loss of educational instruction.

25. On November 4, 2013, at the instruction of T.L.’s parents, T.L. began receiving academic

   instruction from the Lincoln Interactive cyber school, which is affiliated with the District.

26. The cyber school platform was plagued with technological problems, which caused T.L. to

   receive inadequate instruction.

27. The computers provided to T.L. by the cyber school program could not perform the basic

   functions necessary to run the cyber school program.

28. While removed from the District, T.L. sought therapy and a psychiatric evaluation from Mon

   Yough outpatient services.

29. A psychiatric evaluation for T.L. was not generated until December 12, 2013.

30. Upon presenting the psychiatric evaluation to the District, T.L. was reenrolled at the District

   in February 2014.

31. Upon returning to the District, T.L. continued to experience behavioral problems and was

   frequently disciplined for those difficulties.

32. District teachers and administrators became increasingly critical of T.L.’s behaviors,

   punishing T.L. with negative consequences rather following T.L.’s positive behavior support

   plan.

33. The District’s hypercritical response and increased punishment of T.L. was a result of the

   District’s knowledge that T.L. was being monitored by a probation officer after the criminal

   charges were filed.

34. The District kept detailed reports of all of T.L.’s negative behavioral interactions for the

   purpose of building a criminal case against T.L.

35. On June 6, 2014 the District contacted the Liberty Borough Police Department and alleged



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   that T.L. had called his mathematics teacher (the same teacher involved in the October 18,

   2013 incident) a liar and stated that she was “going to get [hers].”

36. As a result of the District’s allegation, T.L. was charged with a felony count of intimidation

   of witnesses for victims. The charging officer was the same officer that responded to the

   October 18 incident.

37. T.L. returned to the District for the 2014-2015 school year.

38. The District continued to monitor T.L.’s behavior in a manner designed to impart excessive

   discipline without properly addressing T.L.’s behavioral needs.

39. In the winter of 2014, District representatives suggested to T.L.’s parents that T.L. attend the

   New Story School.

40. The District also informed the T.L.’s parents that, if New Story did not provide an adequate

   educational program that suited the needs of T.L.’s family, T.L. would be welcomed back as

   a student at the District.

41. T.L.’s parents accepted this suggestion and enrolled T.L. in the New Story School.

42. T.L.’s placement at the New Story School was not proper because the program offered by the

   school was too restrictive for T.L.’s needs.

43. The New Story School was unable to provide T.L. an age-appropriate curriculum that

   properly addressed T.L.’s educational deficits.

44. T.L. was educated in classrooms at the New Story School with peers that were much older

   and much younger than T.L.

45. Some students there were very aggressive and threatened to harm T.L.

46. T.L. received little to no educational benefit while attending the New Story School.

47. T.L.’s parents frequently and consistently complained to the District regarding the inadequate



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   instruction that T.L. was receiving while enrolled at New Story.

48. Despite knowing that T.L. was not receiving adequate academic instruction and behavioral

   support at New Story, the District ignored the requests of T.L.’s parents to transition T.L.

   back to the district.

49. To this day, the District has not responded to the requests of T.L.’s parents.

50. To obtain an adequate educational placement, T.L.’s parents placed T.L. in a private religious

   school for the 2015-2016 school year.

51. T.L.’s parents must pay significant tuition for T.L. to attend this private religious school.

52. As of the date of this Complaint, T.L. is performing very well at the private school.

                                Count I: Disability Discrimination
          Title II of the Americans with Disabilities Act, 42 U.S.C. § 12132 et seq., and
                   Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794

53. T.L. is disabled within the meaning of the Americans with Disabilities Act and Section 504.

   T.L. suffers from autism and attention deficit hyperactivity disorder, has a record of such

   impairments, and is regarded by Defendant as having such impairments.

54. T.L.’s impairments substantially limit T.L.’s major life activities, including T.L.’s ability to

   concentrate and learn.

55. Despite these impairments, T.L. is otherwise qualified to participate in school activities at the

   District.

56. Defendant is a Pennsylvania public school district that receives federal financial assistance.

57. Defendant was aware that T.L. was able to attend and participate in school at the District

   with reasonable accommodations for his disabilities.

58. Defendant discriminated against T.L. by excluding T.L. from attending school there, refusing

   to allow T.L. to return to school there, and failing to provide T.L. an appropriate education

   and accommodations for his disabilities.
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59. Defendant acted with deliberate indifference to T.L. in discriminating against T.L. on the

   basis of his disability as described above.

60. At all relevant times, Defendant was aware that if it did not provide T.L. reasonable

   accommodations and allow him to return to school, T.L. would not receive an appropriate

   education.

61. As a result of Defendant’s deliberate indifference, T.L. did not receive a free and appropriate

   education and was forced to enroll in a private school.

                                        Prayer for Relief

Plaintiff seeks judgment against Defendant for the following:

62. A judgment declaring that Defendant illegally discrimination against Plaintiff on the basis of

   his disability;

63. Compensatory damages in an amount to be determined at trial;

64. Costs to bring this action, including attorneys’ fees and expenses; and

65. All other relief as the court may deem just and proper.



                                                              Respectfully submitted,

                                                              /s/ Alex J. Barker
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